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12                            UNITED STATES DISTRICT COURT
13                       CENTRAL DISTRICT OF CALIFORNIA
14   BENEBONE LLC,                              Case No.
15               Plaintiff,                     COMPLAINT FOR:
                                                (1) INFRINGEMENT OF U.S.
16         v.                                   PATENT NO. D870,400;
                                                (2) INFRINGEMENT OF U.S.
17   PET QWERKS, INC.,                          PATENT NO. D871,686;
                                                (3) TRADE DRESS
18               Defendant.                     INFRINGEMENT;
                                                (4) UNFAIR COMPETITION
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                                                DEMAND FOR JURY TRIAL
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 1         Plaintiff Benebone LLC (“Benebone” or “Plaintiff”), by and through its
 2   counsel, brings this action against Defendant Pet Qwerks, Inc. (“Pet Qwerks” or
 3   “Defendant”) and hereby alleges as follows:
 4                               NATURE OF THE ACTION
 5         1.     This is a civil action to remedy acts of: (1) infringement of U.S. Design
 6   Patent No. D870,400 (“the ’400 Patent”); (2) infringement of U.S. Design Patent No.
 7   D871,686 (“the ’686 Patent”); (3) trade dress infringement under the Lanham Act
 8   Section 43(a), 15 U.S.C. § 1125(a); (4) unfair competition under California Business
 9   and Professions Code § 17200, et seq.; and (5) unfair competition under the common
10   law of California. A copy of the ’400 Patent and the’686 Patent are attached as Exhibits
11   A and B, respectively.
12         2.     Benebone is one of the leading brands of high quality dog chew toys
13   designed and manufactured exclusively in the U.S.A. using 100% American-made
14   materials. Benebone’s products are well-known for their unique design language,
15   natural flavorings, and high-quality build. In only seven short years, Benebone has
16   risen to a competitive level in the chew toy category, facing off against huge rivals who
17   have been present in the category for decades.
18         3.     As a direct result of their innovative and distinctive designs, Benebone
19   products have become greatly successful and have become uniquely associated with
20   Benebone as their source.
21         4.     Benebone invests considerable time, effort, and money in developing and
22   protecting its reputation and intellectual property, including by securing multiple
23   design patents and trademarks for its line of products.
24         5.     One of Benebone’s best-selling lines is the Maplestick / Bacon Stick,
25   which embody several design patents issued by the U.S. Patent and Trademark Office
26   (“USPTO”).
27         6.     Rather than design its own product, Pet Qwerks, a Benebone competitor,
28   began selling a “BarkBone Stick” that is a knock-off of Benebone’s patented design

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 1   and the “Flavorit BarkBone” that knocks off another popular Benebone design (the
 2   “Accused Products”). In addition to selling a product that infringes on Benebone’s
 3   patents, Pet Qwerks has imitated Benebone’s product packaging, design, and marketing
 4   materials in a scheme to deceive consumers and distort the marketplace. Pet Qwerks
 5   has done this with an aim of injuring Benebone while increasing its own revenues.
 6         7.     Benebone sought to avoid litigation and resolve this matter amicably, and
 7   it has written to Defendant in an effort to do so, but the parties were unable to resolve
 8   the dispute. Benebone now brings this civil action to enforce its rights and protect its
 9   brand, alleging claims for patent infringement, trade dress infringement, and violations
10   of California statutory and common law.
11                                       THE PARTIES
12         8.     Plaintiff Benebone is a limited liability company organized and existing
13   under the laws of the State of Connecticut, with its principal place of business located
14   at 207 Meadow Road, Edison, NJ 08817.
15         9.     On information and belief, Pet Qwerks is a corporation organized and
16   existing under the laws of California, with its principal place of business located at 9
17   Studebaker Dr., Irvine, CA 92618.
18                              JURISDICTION AND VENUE
19         10.    This Court has subject matter jurisdiction under 28 U.S.C. § 1331 (federal
20   question), 28 U.S.C. § 1332 (diversity of citizenship), 28 U.S.C. § 1338(a) (civil action
21   arising under any Act of Congress relating to patents), and 15 U.S.C. § 1121 (any
22   action arising under the Lanham Act), 28 U.S.C. § 1338(b) (action asserting claim of
23   unfair competition joined with a substantial and related claim under the trademark
24   laws). This Court has supplemental jurisdiction over the remaining state law claims
25   under 28 U.S.C. §1367 because the claims are so related to Benebone’s claims under
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 1   federal law that they derive from a common nucleus of operative fact and form part of
 2   the same case or controversy.
 3          11.    This Court has general and specific personal jurisdiction over Defendant
 4   in this case because Defendant is a California corporation, maintains its principal place
 5   of business in this judicial district, and on information and belief, has committed and
 6   continues to commit acts of patent infringement and false advertising/implied passing
 7   off within this judicial district.
 8          12.    Either directly, or through its agents and/or affiliates, Defendant has
 9   conducted and continues to conduct substantial and routine business in this judicial
10   district, including, on information and belief, by marketing, offering to sell, and/or
11   selling infringing products in this judicial district and/or committing false
12   advertising/implied passing off within this judicial district.
13          13.    Defendant’s acts have caused injury to Plaintiff within this judicial
14   district.
15          14.    Venue is proper in the Central District of California under the general
16   federal venue statute, 28 U.S.C. §§ 1391(b), (c), and (d) because, among other reasons,
17   Defendant is organized and existing under the laws of the State of California, maintains
18   a physical place of business in this judicial district, and on information and belief, has
19   committed acts of patent infringement and/or false advertising/implied passing off
20   within this judicial district. In addition, and in the alternative, venue is proper in this
21   judicial district under the specific venue provision relating to patent infringement cases,
22   28 U.S.C. § 1400(b) because Defendants have committed acts of infringement in this
23   judicial district.
24                                        PATENTS-IN-SUIT
25          15.    On December 17, 2019, the U.S. Patent and Trademark Office duly and
26   legally issued the ’400 Patent entitled “Pet Chew Toy.” A true and correct copy of the
27   ’400 Patent is attached as Exhibit A.
28          16.    The ʼ400 Patent is valid and enforceable.

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 1            17.     Benebone is the lawful owner by assignment of all rights, title and interest
 2   in and to the ’400 Patent, possesses all rights of recovery under the ’400 Patent, and
 3   has standing to sue for infringement of the ’400 Patent.
 4            18.     On December 31, 2019, the U.S. Patent and Trademark Office duly and
 5   legally issued the ’686 Patent entitled “Pet Chew Toy.” A true and correct copy of the
 6   ʼ686 Patent is attached as Exhibit B.
 7            19.     The ʼ686 Patent is valid and enforceable.
 8            20.     Benebone is the lawful owner by assignment of all rights, title and interest
 9   in and to the ʼ686 Patent, possesses all rights of recovery under the ʼ686 Patent, and
10   has standing to sue for infringement of the ʼ686 Patent.
11                                   FACTUAL BACKGROUND
12       A.         Benebone’s “Dogma”
13            21.     Benebone is a family-owned dog toy business that was established in
14   2012. After spending a year on the design of a single product, the curved wishbone,
15   Benebone sold its first chew toy in 2013. As dog owners and lovers, the Benebone
16   family has always been driven to produce toys that dogs will love, while being
17   responsible members of the dog owning community.
18            22.     There are seven pillars to Benebone’s corporate ethos, which it refers to
19   as its “Dogma.” 1
20                  • Focus on Delighting Dogs
21                  • Be Valuable to Pet Parents
22                  • Practice Good Business
23                  • Nothing but the Best
24                  • Demonstrate Generosity
25                  • Stay Playful
26                  • Be Human
27   1
         Benebone | OUR “DOGMA” (2020). Available at:
28   https://www.benebone.com/our-dogma/ (Accessed: April 29, 2020).

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 1         23.       Everything Benebone does, and every product it designs and sells, is
 2   driven by these seven principles. To demonstrate generosity, Benebone has planted
 3   deep roots in its communities and participates in events and philanthropy to further
 4   support causes that are important to Benebone and its growing base of consumers. To
 5   be human, Benebone has kept its small family business feel, while growing into a major
 6   participant in the industry in only a few years.
 7         24.       Several of these principles drive the design and manufacture of
 8   Benebone’s dog toys. To focus on delighting dogs, Benebone seeks to design unique
 9   but simple products dogs will love.         Specifically, Benebone’s design elements
10   revolutionized dog chew toys as they focused on a clean, modern design. Benebone’s
11   irregular and modern designs are instantly recognizable and are inseparable from the
12   brand itself.
13         25.       Practicing good business and providing “nothing but the best” means that
14   Benebone only uses the highest quality materials. All Benebone products are made
15   with USA-sourced nylon and flavored with USA-sourced real ingredients—real
16   peanuts, white meat chicken, or bacon.
17         26.       Benebone manufactures all of its products in several factories in New
18   York and has been lauded for manufacturing its products in the U.S.A., in part because
19   American-made goods are particularly sought after in the highly-competitive dog toy
20   market.2 According to industry publications, “[w]hen it comes to dog treats and chews,
21   owners these days value American-made, ethically sourced and sustainable products
22   made by manufacturers that are transparent about their production processes” like
23   Benebone.3
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       Solid Sourcing Required (2018). Available at:
27   http://www.petproductnews.com/December-2018/Solid-Sourcing-Required/
     (Accessed: April 29, 2020).
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28     Id.

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 1           27.     Consumer preferences align neatly with Benebone’s “Dogma,” which has
 2   led to a massive expansion of the Benebone brand in just a few years since its inception.
 3   Benebone’s dog toys are sold throughout the United States in retail locations from coast
 4   to coast, including independent pet stores, as well as larger retailers, including Pet
 5   Smart and Petco. Benebone also sells its products through online retailers, including
 6   Amazon and Chewy.
 7      B.         Benebone’s Widely-Praised Product Design
 8           28.     Benebone has been lauded for its unique design and approach. Each toy
 9   begins with a simple directive: create something that dogs will love. Benebone’s
10   designs are the result of a time-consuming and resource-intensive process that requires
11   the coordination of designers, manufacturing, and marketing staff.
12           29.     Benebone revolutionized dog toy design with its curved Wishbone in
13   2013. Most dog toys on the market at the time were flat, and Benebone’s patented
14   curved Wishbone design marked a new era in design. Benebone continued this concept
15   with the curved Dental Chew, a figure-8 shaped product. The Maplestick’s design
16   followed on this market-leading concept, with a modern, linear design with non-tapered
17   cylindrical nubs on each end oriented to ensure the product never lay flat on the ground.
18           30.     All of Benebone’s designs are modern and artistic, making them instantly
19   recognizable by product design alone. These designs make up a portion of Benebone’s
20   trade dress and have become inseparable from the brand itself.
21           31.     There are several design elements that make the Benebone’s brand unique
22   and instantly recognizable. First, its designs are shaped to never sit flat on the surface,
23   and include arcs that add to the visual appeal of the products. While a simple concept,
24   this design element was revolutionary when introduced, paving the way for substantial
25   market penetration in just a few years. Second, Benebone’s designs are modern and
26   intentionally distant from the natural element they mimic. For example, although the
27   curved Wishbone vaguely resembles a bone, its modern design elements make it
28   immediately recognizable that it is not, in fact, a real bone.

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 1         32.    The Maplestick is a clear example of this design language; while its
 2   modern and clean design takes cues from sticks, it intentionally does not look like an
 3   actual stick. There are several key design features at work here. First, the main portion
 4   of the Maplestick is dead-straight, unlike a real stick. Second, it has equal branches at
 5   both ends, unlike a real stick. Third, the branches at each end are terminated in a
 6   cylindrical way, which is not found in a natural stick. Before the Maplestick was
 7   introduced, there were several other stick-themed products, most notably the Petstages
 8   Dogwood Stick Chew Toy and the Nylabone Stick Chew. (Petstages and Nylabone
 9   are two of the largest brands in this category who have been in existence for decades.)
10   The below images illustrate where stick chew toy design was before Benebone arrived
11   on the scene. Both designs were relatively flat and both were intended to resemble real
12   sticks. Benebone’s modern Maplestick design turned this concept on its head. 4
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21         33.    Benebone’s designs are a family of top sellers: the Wishbone, Dental
22   Chew, Maplestick / Bacon Stick, and Zaggler, all shown below5:
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24   4
       On the left is: Strong Chew Real Wood Stick Chew Toy, Maple Bacon | Nylabone
25   (2020). Available at: https://www.nylabone.com/products/product-type/chew-
     toys/strong-chew/strong-chew-real-wood-stick-toy (Accessed: April 29, 2020). On
26   the right is: Dogwood (2020). Available at:
     https://petstages.outwardhound.com/dogwood-by-petstage.html (Accessed: April 29,
27   2020).
     5
       Benebone | Our Products (2020). Available at: https://www.benebone.com/products/
28   (Accessed: April 29, 2020).

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 7         34.      Benebone’s trade dress in its Maplestick / Bacon Stick includes the design
 8   elements shown and discussed in this Complaint, including, but not limited to:
 9               a. brown color;
10               b. curved shape;
11               c. nubs in a Y shape at one end, juxtaposed with nubs at the other end such
12                  that the bone sits on a flat surface creating a distinctive look with at least
13                  one nub pointing upward and most or all of the elongated portion of the
14                  bone not touching the flat surface;
15               d. cylindrical nubs;
16               e. non-tapered nubs;
17               f. nubs with flat ends;
18               g. nubs that are roughly 1/3 or less of the length of the shaft of the bone,
19                  giving an elongated overall appearance;
20               h. a textured look;
21               i. cardboard packaging that surrounds the center of the product;
22               j. use of white and green in product packaging;
23               k. made in the USA logo; and
24               l. “real bacon” flavor.
25   (hereinafter, the “Asserted Trade Dress”).
26         35.      Benebone’s Wishbone is also encompassed within the same family of
27   trade dress as the Maplestick / Bacon Stick and carries much of the same Asserted
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 1    Trade Dress, with additional protected trade dress, including a unique curve that allows
 2    it to sit off a flat surface and uniquely-shaped nubs on its ends.
 3          36.    Benebone’s designs are a unique and clear identifier of the brand. In
 4    contrast, its competitors have hundreds or thousands of SKUs without a common
 5    design language or common elements. Nylabone and Petstages are two of the biggest
 6    brands in the category. Nylabone, has products shaped like bones, antlers, rings,
 7    dinosaurs, pigs, rawhide, blocks of cheese, baby toys, plush toys and more. Nylabone
 8    also sells products in other categories like toothbrushes and toothpaste, dental wipes
 9    and sprays, finger brushes and tartar remover. 6
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21          37.    Similarly, Petstages has no consistent design ethos. Its product line
22    includes sticks, antlers, bones, rawhide, vegetables, balls, disc flyers, plush toys, baby
23    toys, and more. Petstages also sells cat toys, cat scratchers, as shown below. 7
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26    6
        Shop Dog Chew Toys, Edibles & Dental Products at Nylabone (2020). Available at:
27    https://www.nylabone.com/products (Accessed: April 29, 2020).
      7
        Petstages Home (2020). Available at: https://petstages.outwardhound.com/
28    (Accessed: April 29, 2020).

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11          38.   These brands’ products span across a wide range of materials, colors,
12    sizes, shapes, and design elements.
13          39.   By contrast, Benebone designs only a single category of dog toys—and
14    within that category—only four core designs. The designs are simple, modern, clean,
15    and symmetrical. These limited unique and cohesive designs have become instantly
16    recognizable as a family and have become inseparable from the Benebone brand. The
17    Maplestick / Bacon Stick is one of these key designs.
18          40.   Leading popular publications have praised Benebone’s products,
19    including NBC’s Today Show, Cosmopolitan, Woman’s Day, and Bustle.
20          41.   For example, Bustle listed Benebone first on its list of “The 14 Best Chew
21    Toys For Dogs.” 8 Bustle specifically praised the Benebone toy for its “unique” design
22    and because “it actually smells and tastes like bacon.”       Cosmopolitan included
23    Benebone on its list of “26 Gifts Every Dog Mom Should Buy ASAP,” and writer
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26    8
       14 Durable Dog Toys That Stand Up To Even The Toughest Chewers (2019).
27    Available at: https://www.bustle.com/p/the-14-best-chew-toys-for-dogs-19271982
      (Accessed: April 29, 2020).
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 1    Carina Hsieh said “[m]y dog legit goes bananas for” the Benebone toy. 9 Woman’s Day
 2    also praised Benebone’s design in its article on “15 Indestructible Dog Toys to
 3    Challenge Tough Chewers.”10
 4          42.   NBC’s Today Show has also heaped praise on Benebone’s design, saying:
 5                If dogs could type, this made-in-America chew toy would have
 6                twice as many Amazon reviews (currently 6,500 with a 4.3-star
 7                rating). The key to its popularity among dogs is the winning
 8                combination of good design, it ‘rocks to easily position a
 9                comfortable chewing session,’ and quality ingredients.        It’s
10                flavored with food-grade bacon, chicken and peanut butter. Dog
11                owners appreciate its durability. One reviewer says his two dogs
12                chew on theirs 8 to 10 hours a day, yet the bones have lasted four
13                months! 11
14          43.   Benebone’s Maplestick / Bacon Stick have also received significant praise
15    for their design. For example, Bustle lauded Benebone’s Maplestick for its “ridges and
16    curves” on its list of “37 Genius Pet Products That Must Have Been Invented By A
17    Dog Whisperer.”12 INVERSE included Benebone’s Maplestick in its article, “4 Best
18    Indestructible Dog Toys for Aggressive Chewers,” calling it “clever” and praising its
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21    9
        Gifts Every Dog Owner Needs to Buy ASAP (2019). Available at:
      https://www.cosmopolitan.com/lifestyle/g25381745/dog-gifts/ (Accessed: April 29,
22    2020).
      10
23       15 Indestructible Dog Toys for Your Tough Chewer (2019). Available at:
      https://www.womansday.com/life/pet-care/g26763903/most-indestructible-dog-toys/
24    (Accessed: April 29, 2020).
      11
         Celebrate National Dog Day with 14 dog-approved favorites (2018). Available at:
25    https://www.today.com/pets/celebrate-national-dog-day-14-dog-approved-favorites-
      t135954 (Accessed: April 29, 2020).
26    12
         37 Genius Pet Products That Must Have Been Invented By A Dog Whisperer
27    (2020). Available at: https://www.bustle.com/p/37-genius-pet-products-that-must-
      have-been-invented-by-a-dog-whisperer-21771555 (Accessed: April 29, 2020).
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 1    “shape.” 13
 2           44.    Benebone’s use of real bacon flavor in its toys, a part of its Asserted Trade
 3    Dress, is a key differentiator in its segment of the market. At the time Benebone
 4    introduced its real bacon flavoring, no other brand used real bacon as flavoring in a
 5    nylon dog chew toy. Benebone’s use of real bacon flavor was and remains a material
 6    part of Benebone’s branding. Benebone prominently promotes its use of “REAL
 7    BACON” on its product packaging, its website, marketing materials, and online
 8    retailers Amazon and Chewy. Benebone has also registered and applied for several
 9    trademarks that refer to its use of real bacon flavor. 14
10           45.    For the reasons discussed above, Benebone’s products are well-received
11    by customers. According to Romper, Benebone is “praised so highly by buyers.”15
12    Benebone’s products are highly sought after in both traditional retail and online
13    markets. For example, an article run in industry publication Pet Product News in 2019
14    noted that Benebone products were a top seller at an independent pet store. 16
15    Benebone’s Maplestick / Bacon Stick have a 4.5/5 average review with more than
16    1,900 customer reviews on Amazon.com. 17
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19       The Best Dog Toys For Heavy Chewers (2019). Available at:
      https://www.inverse.com/article/59276-best-dog-toys-aggressive-chewers (Accessed:
20    April 29, 2020).
      14
          U.S. Reg. No. 5,613,742; U.S. App. 88/798,687.
21    15
          Your Chew-Happy Doggo Will Love These 15 Toys Even More Than Your Shoes
22        (2019). Available at: https://www.romper.com/p/15-toys-for-dogs-who-chew-
          everything-because-youre-about-to-run-out-of-shoes-18668902 (Accessed: April
23        29, 2020).
      16
          Dogs Rule at This North Carolina Pet Store (2019). Available at:
24        http://www.petproductnews.com/Blog/Dogs-Rule-at-This-North-Carolina-Pet-
          Store/ (Accessed: April 29, 2020).
25    17
          Benebone Maplestick/Bacon Stick Real Wood Durable Dog Chew Toy (2020)
26        Amazon.com. Available at: https://www.amazon.com/Benebone-Maplestick-
          Durable-Stick-Large/dp/B07F6WYYJ5/ref=sr 1 1?dchild=1&keywords
27        =benebone%2Bmaplestick&qid=1587494923&s=pet-supplies&sr=1-1&th=1
          (Accessed: April 29, 2020).
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 1         C.         Benebone Invests Significantly to Protect Its Reputation and IP
 2              46.     Benebone has taken care to protect its reputation and intellectual property
 3    at great expense and effort. Benebone holds a number of trademarks relating to both
 4    the BENEBONE brand and several other brands and marks. Because Benebone
 5    devotes significant resources to product design, it has sought to protect those designs
 6    through the use of design patents. Benebone’s efforts to patent its unique designs have
 7    even been reported by the media. 18
 8              47.     The USPTO issued the ’400 Patent and the’686 Patent (collectively, the
 9    “Asserted Patents” to Benebone. The Asserted Patents depict a dog toy as shown
10    below:
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17              48.     Benebone’s Maplestick / Bacon Stick, which was first introduced to the
18    market in July 2018, embody the Asserted Patents.
19         D.         Pet Qwerks Deceives Consumers and Misappropriates Benebone’s IP
20              49.     Pet Qwerks began operating as a distributor of gift and stationary
21    products, including oversized postcards. 19 Pet Qwerks began selling a ball toy for dogs
22    and in early 2016, began to expand its dog toy line.
23              50.     Much like the rest of Benebone’s competitors (including Nylabone and
24    Petstages discussed above), Pet Qwerks has no common design ethos. Its designs
25    18
           CT patents hit record levels - for inventors and corporate profiteers (2020).
26         Available at: https://www.ctinsider.com/business/nhregister/article/CT-patents-hit-
           record-levels-both-for-14978129.php (Accessed: April 29, 2020).
      19
27         Pet Qwerks Story (2020). Available at:
           https://shop.petqwerks.com/blogs/news/123321415-pet-qwerks-story (Accessed:
28         April 29, 2020).

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 1    include balls, antlers, ropes, tires, rings, rawhide, sticks, ropes, bubbles, plush toys and
 2    hockey pucks. Examples of Pet Qwerks’s products, packaging, and design are below:
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14          51.    In March 2017, Benebone’s CEO received a call from a customer telling
15    him that he should talk to Pet Qwerks. This customer suggested to Benebone that Pet
16    Qwerks may be for sale. Benebone’s CEO spoke to Pet Qwerks’s VP of Sales but did
17    not make any offer to associate with Pet Qwerks or to purchase Pet Qwerks or any of
18    its business lines. Benebone chose not to follow up with Pet Qwerks’s founder, whose
19    contact information was provided subsequent to the call.
20          52.    Pet Qwerks was not a major competitor in the same market segments as
21    Benebone at the time and was primarily selling dog balls, rubber tire products, and a
22    line of chew toys called “Flavorit” with the purpose of smearing peanut butter or other
23    food in its holes.
24          53.    According to Pet Qwerks’ product catalogs, the vast majority of Pet
25    Qwerks’s products at the time were not manufactured in the U.S. and it did not use
26    natural bacon flavoring. None of their products had modern or curved design elements
27    20
        Products (2020). Available at: https://shop.petqwerks.com/collections/all/
28    (Accessed: April 29, 2020).

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                                             COMPLAINT
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 1    which were signature to the Benebone brand.
 2          54.    Only a few months after the conversation between Benebone and Pet
 3    Qwerks, Pet Qwerks announced a new product it dubbed the BarkBone Stick, which
 4    was released in the summer of 2017. As shown below, the BarkBone Stick (right)
 5    bears a striking resemblance to the Benebone Maplestick / Bacon Stick (left), which
 6    embodies Benebone’s patented design. The Pet Qwerks design contains each of the
 7    unique elements of the Maplestick design noted above: a straight center, equal
 8    branches at both ends, and branches that end in cylindrical cutoffs with no taper.
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14          55.    As Pet Qwerks began to roll out its product packaging and marketing
15    materials, it became apparent that its goal was not simple to copy Benebone’s patented
16    design, but also to mimic Benebone’s product packaging and other marketing
17    materials.
18          56.    For example, the product sizing chart used by Pet Qwerks on its website
19    is deceptively similar to the chart used by Benebone and demonstrate that the products
20    offer nearly identical designs: 21
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27    21
       On left: BarkBone Stick with Peanut Butter Flavor Dog Chew Toy for Aggressive
      Chewers, Made in USA - Pet Qwerks Toys (2020). Available at:
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 1          57.    Pet Qwerks’ marketing materials used on its social media pages also
 2    demonstrate that the overall look of the infringing BarkBone Stick is confusingly
 3    similar to Benebone’s Maplestick / Bacon Stick: 22
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16          58.    Upon information and belief, Pet Qwerks has posted these marketing
17    photos on its social media accounts with the intent to deceive customers and potential
18    customers into believing that its infringing BarkBone Stick is the same as or associated
19    with Benebone’s Maplestick / Bacon Stick, based on the products appearing nearly
20    identical in these images.
21          59.    Pet Qwerks uses images on its website that show the infringing BarkBone
22    Stick in a vertical orientation that also emphasizes the apparent similarities with
23    Benebone’s Maplestick / Bacon Stick, and, upon information and belief, are intended
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25    https://petqwerks.com/product/barkbone-stick-peanut-butter-flavor-dog-chew-toy-
      made-in-usa/ (Accessed: April 30, 2020).
26    On right: (2020) Amazon.com. Available at: https://www.amazon.com/Benebone-
27    Maplestick-Durable-Stick-Medium/dp/B07F6VB2KW (Accessed: April 30, 2020).
      22
         Pet Qwerks Toys (2020). Available at: https://www.facebook.com/petqwerks/
28    (Accessed on April 30, 2020).

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 1    to deceive consumers into believe that the products are associated and/or one in the
 2    same.
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12            60.   Pet Qwerks uses other advertising that not only emphasizes the similarity
13    of its products to Benebone’s, but also presents them similarly, deceiving customers.
14    Pet Qwerks products are often presented without packaging on the internet, both on
15    internet retail sites such as www.amazon.com and in social media and lifestyle photos.
16    For example, the images below show Benebone’s advertising material that shows the
17    Maplestick / Bacon Stick in a pile of toys (left), and Pet Qwerks’ newer advertising
18    that similarly displays its infringing product in a pile (right):23
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26    23
        BarkBone Stick Peanut Butter Flavor Infused Dog Chew, Made in USA (2019).
27    Available at:
      https://www.facebook.com/138290592915913/videos/1586436031492395/
28    (Accessed: April 29, 2020).

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                                             COMPLAINT
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 1          61.    The look and feel of the Pet Qwerks BarkBone Stick packaging is also
 2    confusingly similar to the packaging for Benebone’s Maplestick / Bacon Stick that is a
 3    part of Benebone’s Asserted Trade Dress. Both packages utilize minimal carboard that
 4    surrounds the center of the brown dog toy, which prominently displays the similarities
 5    in the products. Pet Qwerks’s packaging makes significant use of green and white –
 6    the same color pallet used by Benebone.
 7          62.    The packaging for both Benebone and Pet Qwerks also prominently
 8    displays the American flag and Made in USA label, which is a significant driver of
 9    sales.24 Pet Qwerks also now sells its BarkBone in a “REAL BACON” flavor. As
10    shown below, Pet Qwerks uses the confusingly similar term and “REAL BACON”
11    branding on its product packaging (Pet Qwerks, left; Benebone, right): 25
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15          63.    The Pet Qwerks BarkBone Stick is sold at many of the same and similar
16    retailers as the Benebone’s Maplestick / Bacon Stick—both in physical stores and
17    online. Pet Qwerks’ infringing BarkBone Stick typically sells for between $9 and $15
18    at retail as compared to $10 to $20 for Benebone’s Maplestick / Bacon Stick.
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25       Solid Sourcing Required (2018). Available at: http://www.petproductnews.com/
      December-2018/Solid-Sourcing-Required/ (Accessed: April 29, 2020).
26    25
         Left: Interactive Dog Toys, Dog Toys, Dog Chews, Cat Toys, Pet Toys (2020).
27    Available at: https://petqwerks.com/ (Accessed: April 30, 2020).
      Right: Benebone | Our Products (2020). Available at:
28    https://www.benebone.com/products (Accessed: April 30, 2020).

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 1          64.   Images on Amazon also show how the products are nearly identical from
 2    a consumer’s perspective. Any minor variations in the products are virtually eliminated
 3    when shown in use as dogs’ paws, jaws, or both inevitably partially obscure the
 4    respective products. For example, Pet Qwerks’ infringing BarkBone Stick is shown on
 5    the left and Benebone’s Maplestick / Bacon Stick is shown on the right:
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 1          65.   The screenshot below, taken from a video posted by a consumer on
 2    Amazon, shows that in person, the products are nearly indistinguishable:
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15          66.   Because many of these products – particularly Pet Qwerks’ products – are
16    purchased online, the likelihood of consumer confusion is heightened. Even if minor
17    variations in the product design and packaging could be perceptible when comparing
18    the products in person, consumers are rarely in a position to undertake such a
19    comparison whether shopping online or at a brick and mortar retailer. For example,
20    when hung on a peg in a retail store the products are viewed head on and look
21    confusingly similar.
22          67.   Moreover, upon information and belief, there is already actual confusion
23    in the marketplace. For example, upon information and belief, employees of retail
24    partners believe that Pet Qwerks’ infringing BarkBone Stick looks exactly like
25    Benebone’s Maplestick / Bacon Stick. Upon information and belief, it is likely that
26    consumers are confused and deceived by Pet Qwerks’ marketing materials, product
27    design, and product packaging and falsely associate and/or confuse Pet Qwerks’
28    infringing BarkBone Stick with Benebone’s Maplestick / Bacon Stick.

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 1          68.    Pet Qwerks’ attempts to mimic the design language associated with
 2    Benebone and deceive customers has extended beyond just the BarkBone Stick.
 3    Benebone’s curved design was simple but revolutionary when it was introduced. When
 4    Benebone was introduced, Pet Qwerks had a line of chew toys called “Flavorit” with
 5    the purpose of smearing peanut butter or other food in its holes. These chew toys were
 6    flat in design and were not found in many pet stores: 26
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12          69.    After Benebone’s introduction and success of the curved Wishbone, Pet
13    Qwerks introduced a new version of its Flavorit chews, rebranded as the “Flavorit
14    BarkBone,” with confusingly similar “real bacon” flavoring, a similar brown coloring,
15    similarly shaped nobs on its end, and curved similarly to Asserted Trade Dress of
16    Benebone’s flagship Wishbone, with the intent to confuse and deceive consumers:27
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25    26
         Flavorit Bones Dog Chew Toys (2020). Available at:
26    https://shop.petqwerks.com/collections/flavorit-bones-dog-chew-toys (Accessed:
      April 29, 2020).
      27
27       CBD BarkBone, Flavorit BarkBone & Wood BarkBone Dog Chew Toys (2020).
      Available at: https://shop.petqwerks.com/collections/flavorit-barkbone-wood-
28    barkbone-dog-chew-toys (Accessed: April 29, 2020).

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 1          70.    The new design of the curved Pet Qwerks product is confusingly similar
 2    to the curve found in Benebone’s Wishbone. The Pet Qwerks product is at left, while
 3    the Benebone curved Wishbone is at right:
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10          71.    At the time of the introduction of its Flavorit Barkbone design, none of
11    Pet Qwerks’s products had curved design elements which were signature to the
12    Benebone brand and Asserted Trade Dress. In addition, according to Pet Qwerks’
13    product catalogs at the time, the vast majority of its products were not manufactured in
14    the U.S. and it did not use natural bacon flavoring.
15          72.    The confusingly similar curved design and “REAL BACON” flavoring
16    are prominently featured in Pet Qwerks’ marketing materials: 28
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24          73.    While creating designs that copy significantly from the design and
25    marketing of Benebone’s successful products, Pet Qwerks’s products do not appear to
26    copy Benebone’s product quality. In fact, YouTube channel “Tough Toy Tryouts,”
27    28
        Interactive Dog Toys, Dog Toys, Dog Chews, Cat Toys, Pet Toys (2020). Available
28    at: https://petqwerks.com/ (Accessed: April 30, 2020).

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 1    which has posted videos of dogs reviewing dog toys for several years, reviewed Pet
 2    Qwerks’s BarkBone Stick and called it “the worst toy we’ve ever tested.” Accordingly,
 3    Pet Qwerks’ deceptive conduct will have (and has had) a deleterious effect on
 4    Benebone’s goodwill.” 29
 5          74.      Pet Qwerks is well aware of Benebone’s ʼ400 Patent and has continued its
 6    unauthorized infringing activity despite this knowledge. Benebone gave written notice
 7    to Pet Qwerks of their infringement of Benebone’s ʼ400 Patent on or about February
 8    12, 2020. Benebone attempted, albeit unsuccessfully, to actively engage in good faith
 9    negotiations regarding Pet Qwerks’ infringement. On information and belief, Pet
10    Qwerks has pre-suit knowledge of the Asserted Patents and acted egregiously in that it
11    has done nothing to avoid infringement.
12
13                                FIRST CLAIM FOR RELIEF
14                                Infringement of the ʼ400 Patent
15          75.      Benebone alleges and incorporates by reference the allegations set forth
16    in the foregoing paragraphs as if fully set forth herein.
17          76.      At all times herein mentioned the ʼ400 Patent was and is valid and fully
18    enforceable.
19          77.      As shown below, a side by side comparison of Benebone’s ʼ400 Patent
20    and Defendants’ BarkBone Stick quickly reveals that the BarkBone Stick appears
21    substantially the same as Benebone’s ʼ400 Patent to an ordinary observer, the
22    resemblance is such as to deceive such an observer, inducing him to purchase one
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27      Worst toy ever? | DOG TOY REVIEWS | Pet Qwerks Barkbone WOOD Mint Flavor
      Dog Toy (2020). Available at: https://www.youtube.com/watch?v=xb_E9WwmxsI
28    (Accessed: April 30, 2020).

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 1    supposing it to be the other:
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 9          78.    Defendant has infringed and, despite Benebone’s written request to stop,
10    is still infringing Claim 1 of the ’400 Patent by marketing, offering to sell, and/or
11    selling its BarkBone.
12          79.    Defendant’s use, offer for sale, offer to fulfill, sale, fulfillment, and/or
13    shipment of the dog chew toy within the United States and its territories infringes the
14    ’400 Patent in violation of 35 U.S.C. §271(a).
15          80.    Defendant has had actual notice of the infringement of the ’400 Patent
16    since at least as early as February 12, 2020.
17          81.    Despite having notice of its infringement of the ʼ400 Patent, Defendant
18    has infringed, and will continue to infringe unless enjoined, the ʼ400 Patent.
19          82.    As a result of Defendant’s infringement of the ’400 Patent, Benebone has
20    been irreparably harmed, including the following harm which cannot be quantified or
21    recouped through monetary damages: (1) lost market share that will be difficult, if not
22    impossible, to recoup later, (2) negative effect on its reputation as innovator and
23    pioneer, (3) the unquantifiable effect on lost sales of related products, (4) price erosion
24    due to Defendant’s BarkBone being sold at a price point lower than Benebone’s
25    patented product, (5) diversion of resources to defend against loss of market share
26    caused by sales of the BarkBone, and (6) Defendant’s unauthorized sales that are
27    enticing others to offer for sale and sell infringing attachments that leads to additional
28    irreparable harm described above.

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 1          83.      Defendant’s acts of infringement have been, and continue to be, willful
 2    and deliberate and therefore warrant the award of attorneys’ fees pursuant to 35 U.S.C.
 3    § 285 and the enhancement of damages pursuant to 35 U.S.C. § 284.
 4                               SECOND CLAIM FOR RELIEF
 5                                Infringement of the ʼ686 Patent
 6          84.      Benebone alleges and incorporates by reference the allegations set forth
 7    in the foregoing paragraphs as if fully set forth herein.
 8          85.      At all times herein mentioned the ʼ686 Patent was and is valid and fully
 9    enforceable.
10          86.      As shown below, a side by side comparison of Benebone’s ʼ686 Patent
11    and Defendants’ BarkBone Stick quickly reveals that the BarkBone Stick appears
12    substantially the same as Benebone’s ʼ686 Patent to an ordinary observer, the
13    resemblance is such as to deceive such an observer, inducing him to purchase one
14    supposing it to be the other:
15             U.S. Design Patent No. D871,686                Defendant’s Pet Chew Toy
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23          87.      Defendant has infringed and is still infringing Claim 1 of the ’686 Patent
24    by marketing, offering to sell, and/or selling its BarkBone.
25          88.      Defendant’s use, offer for sale, offer to fulfill, sale, fulfillment, and/or
26    shipment of the dog chew toy within the United States and its territories infringes the
27    ’686 Patent in violation of 35 U.S.C. §271(a).
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 1          89.    As a result of Defendant’s infringement of the ’686 Patent, Benebone has
 2    been irreparably harmed, including the following harm which cannot be quantified or
 3    recouped through monetary damages: (1) lost market share that will be difficult, if not
 4    impossible, to recoup later, (2) negative effect on its reputation as innovator and
 5    pioneer, (3) the unquantifiable effect on lost sales of related products, (4) price erosion
 6    due to Defendant’s BarkBone being sold at a price point lower than Benebone’s
 7    patented product, (5) diversion of resources to defend against loss of market share
 8    caused by sales of the BarkBone, and (6) Defendant’s unauthorized sales that are
 9    enticing others to offer for sale and sell infringing attachments that leads to additional
10    irreparable harm described above.
11                               THIRD CLAIM FOR RELIEF
12           Federal Trade Dress Infringement and False Designation of Origin
13                                     (15 U.S.C. § 1125(a))
14          90.    Benebone alleges and incorporates by reference the allegations set forth
15    in the foregoing paragraphs as if fully set forth herein.
16          91.    Benebone is the owner of all right and title to the distinctive Asserted
17    Trade Dress embodied in Benebone products, and in particular in Benebone’s
18    Maplestick / Bacon Stick and Benebone’s Wishbone.
19          92.    Benebone’s Asserted Trade Dress, described above, is comprised of
20    inherently distinctive features which are not functional and are protected under the
21    Lanham Act § 43(a).
22          93.    In addition, the Asserted Trade Dress, as embodied in Benebone’s
23    Maplestick / Bacon Stick and Benebone’s Wishbone products, has acquired secondary
24    meaning.    Based on extensive and consistent advertising, promotion, and sales
25    throughout the United States, the Asserted Trade Dress enjoys secondary meaning
26    among consumers, identifying Benebone as the source of these products.
27          94.    Pet Qwerks has infringed Benebone’s Asserted Trade Dress and created a
28    false designation of origin by using in commerce, without Benebone’s permission,

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 1    confusingly similar marks and design elements.          The potential for confusion is
 2    amplified by Pet Qwerks’s choice to use the marks and design elements in connection
 3    with products that, in whole or in part, are copies or knock-offs of Benebone’s own
 4    products.
 5          95.    Pet Qwerks’s unauthorized use of marks and design elements confusingly
 6    similar to Benebone’s Asserted Trade Dress constitutes a false designation of origin, a
 7    false or misleading description of fact, a false or misleading representation of fact, and
 8    has caused and is likely to cause confusion, mistake, and/or deception as to the
 9    affiliation, connection, or association of Pet Qwerks’s products with Benebone and the
10    origin, sponsorship, or approval of Pet Qwerks’s products by Benebone.
11          96.    The aforementioned acts constitute trade dress infringement, false
12    designation of origin, and unfair competition in violation of 15 U.S.C. § 1125(a).
13          97.    Benebone is informed and believes that Pet Qwerks knew of the Asserted
14    Trade Dress when it designed its products, and at least as early as February 12, 2020,
15    and despite Benebone’s requests continues to sell an infringing product. Accordingly,
16    Pet Qwerks’s infringement has been and continues to be intentional, willful and without
17    regard to Benebone’s rights in the Asserted Trade Dress.
18          98.    As a direct and proximate result of Pet Qwerks’s unlawful acts and
19    practices, including those set forth above, Pet Qwerks has caused, is causing, and unless
20    immediately enjoined by this Court, will continue to cause immediate and irreparable
21    harm to Benebone, for which there is no adequate remedy at law, and for which
22    Benebone is entitled to injunctive relief.
23          99.    As a direct and proximate result of the foregoing acts, Benebone has
24    suffered and will continue to suffer significant injuries in an amount to be determined
25    at trial. Benebone is entitled to recover all damages, including attorneys’ fees, that it
26    has sustained on account of Pet Qwerks’s infringement, and all gains, profits and
27    advantages obtained by Pet Qwerks as a result of its unlawful acts.
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 1          100. Pet Qwerks’s actions described above make this an exceptional case under
 2    15 U.S.C. § 1117(a) and, therefore, Benebone is entitled to an award of its attorneys’
 3    fees and costs.
 4                              FOURTH CLAIM FOR RELIEF
 5                          Common Law Trade Dress Infringement
 6          101. Benebone alleges and incorporates by reference the allegations set forth
 7    in the foregoing paragraphs as if fully set forth herein.
 8          102. Pet Qwerks’s infringement of Benebone’s Asserted Trade Dress also
 9    constitutes trade dress infringement under common law of the state of California.
10          103. The products Pet Qwerks produced, distributed, advertised, and offered
11    for sale bear confusingly similar reproductions of Benebone’s Asserted Trade Dress in
12    the Maplestick / Bacon Stick and Wishbone, such as to cause a likelihood of confusion
13    as to the source, sponsorship, or approval by Benebone of Pet Qwerks’s products. Pet
14    Qwerks’s unauthorized use of the Asserted Trade Dress has caused and is likely to
15    cause confusion as to the source of the products among consumers.
16          104. As a direct and proximate result of Pet Qwerks’s unlawful acts and
17    practices, including those set forth above, Pet Qwerks has caused, is causing, and unless
18    immediately enjoined by this Court, will continue to cause immediate and irreparable
19    harm to Benebone, for which there is no adequate remedy at law, and for which
20    Benebone is entitled to injunctive relief.
21          105. As a direct and proximate result of the foregoing acts, Benebone has
22    suffered and will continue to suffer significant injuries in an amount to be determined
23    at trial. Benebone is entitled to recover all damages, including attorneys’ fees, that it
24    has sustained on account of Pet Qwerks’s infringement, and all gains, profits and
25    advantages obtained by Pet Qwerks as a result of its unlawful acts.
26          106. Pet Qwerks’s unlawful acts were willful, deliberate, and intended to cause
27    confusion among the public, taken in reckless disregard of Benebone’s rights. As such,
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 1    an award of exemplary and punitive damages is necessary in an amount sufficient to
 2    deter similar misconduct in the future.
 3                                FIFTH CLAIM FOR RELIEF
 4       (Unfair Competition in Violation of Cal. Bus. & Prof. Code, § 17200 et. seq.)
 5          107. Benebone alleges and incorporates by reference the allegations set forth
 6    in the foregoing paragraphs as if fully set forth herein.
 7          108. By virtue of the acts complained of herein, Pet Qwerks has intentionally
 8    caused a likelihood of confusion among consumers and the public and has committed
 9    acts that constitute fraudulent, unlawful, and unfair business practices as defined by
10    California Business & Professions Code § 17200, et seq.
11          109. Upon information and belief, Defendants’ deceptive, unfair, and
12    fraudulent business practices were willfully undertaken with full knowledge of
13    Benebone’s Asserted Trade Dress, and with the intent to misappropriate Benebone’s
14    goodwill and reputation.
15          110. As a direct and proximate result of the foregoing acts, Benebone has
16    suffered and will continue to suffer significant injuries in an amount to be determined
17    at trial. Benebone is entitled to all available relief provided for under the California
18    Unfair Business Practices Act, Cal. Bus. & Prof. Code, § 17200 et. seq., including an
19    accounting and disgorgement of all illicit profits that Pet Qwerks made on account of
20    its deceptive, unfair, and fraudulent business practices.       Furthermore, because
21    Benebone has no adequate remedy at law for Pet Qwerks’s ongoing unlawful conduct,
22    Benebone is entitled to injunctive relief prohibiting Pet Qwerks from unfair
23    competition.
24                                SIXTH CLAIM FOR RELIEF
25                   (Unfair Competition Under California Common Law)
26          111. Benebone alleges and incorporates by reference the allegations set forth
27    in the foregoing paragraphs as if fully set forth herein.
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 1          112. Pet Qwerks’s acts complained of herein have been committed and are
 2    being committed with the deliberate purpose and intent of appropriating and trading on
 3    Benebone’s goodwill and reputation, and thereby unfairly competing with Benebone
 4    in violation of the common law of the State of California.
 5          113. Pet Qwerks’s actions described herein were taken with substantial
 6    certainty that such acts would cause harm to Benebone and in conscious disregard for
 7    Benebone’s rights. Pet Qwerks’s conduct described herein was done with malice, ill-
 8    will and intent to harm Benebone, such as to constitute oppression, fraud, malice, and
 9    despicable conduct under Cal. Civ. Code § 3294, and thereby entitling Benebone to
10    exemplary damages in an amount appropriate to punish and set an example of Pet
11    Qwerks.
12          114. As a direct and proximate result of the foregoing acts, Benebone has
13    suffered and will continue to suffer significant injuries in an amount to be determined
14    at trial. Benebone is entitled to recover all damages, including attorneys’ fees, that
15    Benebone has sustained on account of Pet Qwerks’s unfair competition, and all gains,
16    profits and advantages obtained by Pet Qwerks as a result of its unlawful acts.
17    Furthermore, because Benebone has no adequate remedy at law for Pet Qwerks’s
18    ongoing unlawful conduct, Benebone is entitled to injunctive relief prohibiting Pet
19    Qwerks from unfair competition.
20
21                                  PRAYER FOR RELIEF
22          WHEREFORE, Plaintiff Benebone respectfully requests the following relief
23    from this Court:
24          A.    A judgment in favor of Benebone that Pet Qwerks has infringed the ’400
25    Patent, ʼ686 Patent, and Benebone’s Asserted Trade Dress;
26          B.    A judgment declaring Pet Qwerks’s infringement of the ’400 Patent and
27    Benebone’s Asserted Trade Dress willful and deliberate;
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 1          C.      A permanent injunction issued by this Court enjoining Pet Qwerks and
 2    its officers, agents, servants, employees and attorneys and any and all persons in
 3    active concert or participation with Pet Qwerks, from further infringing, whether
 4    directly or indirectly, the ʼ400 and ʼ686 Patents and the Asserted Trade Dress; from
 5    committing any other unfair business practices directed toward obtaining for
 6    themselves the business and customers of Benebone; and from committing any other
 7    unfair business practices directed toward devaluing or diminishing the brand or
 8    business of Benebone; or alternatively, a judicial decree that Defendant pays an
 9    ongoing royalty in an amount to be determined for continued infringement after the
10    date of judgment;
11          D.      An order requiring that Pet Qwerks recall from any distributors and
12    retailers and to deliver to Benebone for destruction all remaining inventory of all
13    Accused Products and related items, including all advertisements, promotional and
14    marketing materials therefore, as well as means of making the same;
15          E.      An order requiring Pet Qwerks to file with this Court and serve on
16    Benebone within thirty (30) days after entry of the injunction, a report in writing and
17    under oath setting forth the manner in which Pet Qwerks complied with the
18    injunction.
19          F.      That Benebone be awarded damages adequate to compensate Benebone
20    for Pet Qwerks’ wrongful conduct described herein, including its infringement of
21    the ’400 and ʼ686 Patents and its infringement of the Asserted Trade Dress, including
22    Benebone’s profits lost as a result of infringement of the ’400 and ʼ686 Patents and
23    Asserted Trade Dress, and that the damages be enhanced due to the willfulness of the
24    infringement of the ʼ400 Patent, in accordance with 35 U.S.C. § 284 and/or § 289,
25    and15 U.S.C. § 1117;
26          G.      That Benebone be awarded its costs and attorney’s fees, pursuant to 35
27    U.S.C. § 285 and U.S.C. § 1117;
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 1              H.    A judgment declaring this case to be “exceptional” under 35 U.S.C. §
 2    285;
 3              I.    A judgment trebling any damages award pursuant to 15 U.S.C. § 1117;
 4              J.    An award of punitive damages pursuant to California Civil Code § 3294;
 5              K.    An award restitution relief against Defendants and in favor of Plaintiff,
 6    including disgorgement of wrongfully obtained profits and any other appropriate
 7    relief;
 8              L.    An award an assessment and award of pre- and post-judgment interest on
 9    all damages awarded; and
10              That Benebone be awarded such other and further relief as the Court deems
11    just and equitable.
12    DATED: May 4, 2020                        By: /s/ Kenneth G. Parker
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 1                              DEMAND FOR JURY TRIAL
 2          Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, and Civil Local
 3    Rule 38-1, Benebone hereby demands trial by jury on all issues raised by this
 4    Complaint.
 5    DATED: May 4, 2020                    By: /s/ Kenneth G. Parker
 6                                                    HAYNES AND BOONE, LLP
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 7                                                    kenneth.parker@haynesboone.com
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 8                                                    Jason.lao@haynesboone.com
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